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 8                                     UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

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11    WELLS FARGO BANK, N.A.,                           Case No. 1:20-cv-01398-DAD-SKO
12                        Plaintiff,                    ORDER DIRECTING THE CLERK OF
                                                        COURT TO CLOSE THE CASE
13             v.
                                                        (Doc. 7)
14    HARPREET SINGH,
15                        Defendant.
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              On December 11, 2020, Plaintiff filed a Notice of Voluntary Dismissal, notifying the Court
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     of the dismissal of this action without prejudice. (Doc. 7.) Plaintiff filed this notice before the
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     opposing party served either an answer or a motion for summary judgment. As such, Plaintiff has
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     voluntarily dismissed this matter, without prejudice, pursuant to Rule 41(a)(1)(A)(i) of the Federal
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     Rules of Civil Procedure. The Court therefore DIRECTS the Clerk of Court to close this case.
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23   IT IS SO ORDERED.
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     Dated:     December 14, 2020                                  /s/   Sheila K. Oberto           .
                                                       UNITED STATES MAGISTRATE JUDGE
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